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                                 UNITED STATES DISTRICT COURT
17
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                        OAKLAND DIVISION
19
      WHATSAPP LLC, and                 )
20                                      )             Case No. 4:19-cv-07123-PJH
      META PLATFORMS INC.,
                                        )
21                                      )             PLAINTIFFS’ OPPOSITION TO
                      Plaintiffs,       )             MOTION OF THIRD PARTIES
22                                      )             WESTBRIDGE TECHNOLOGIES,
             v.                         )             JOSH SHANER, AND TERRENCE
23                                      )             DIVITTORIO FOR CLARIFICATION
24    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )             Date:    November 7, 2024
                                        )             Time:    1:30 p.m.
25                                      )             Ctrm:    3
                      Defendants.       )             Judge:   Hon. Phyllis J. Hamilton
26                                      )
                                        )             Action Filed: October 29, 2019
27                                      )
                                        )
28
                                       [REDACTED VERSION]
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 1           Plaintiffs respectfully request that the Court deny the “motion for clarification” (the “Mo-

 2   tion”) brought by Westbridge Technologies, Josh Shaner, and Terrence DiVittorio (the “NSO Affil-

 3   iates”). Dkt. No. 404. First, this Court’s September 27, 2024 Order (the “Order”) plainly stated that

 4   “the deadline for both parties to file discovery-related motions under Civil Local Rule 37-3 shall be

 5   extended to October 2, 2024.” Dkt. No. 394 at 1–2. Nothing in the Order excludes discovery-related

 6   motions against nonparties, and nothing about it requires clarification. Second, in substance the NSO

 7   Affiliates’ motion seeks reconsideration—not clarification—of the Order, but it does not satisfy the

 8   heightened standard for granting a motion for reconsideration. Third, the Court should not credit the

 9   NSO Affiliates’ claims of burden,

10

11                                                                  Finally, the Motion relies on incorrect

12   statements about the discovery dispute involving Westbridge. See Dkt. No. 404 at 1–2. For example,

13   the NSO Affiliates claimed in the Motion that all the email communications between NSO and West-

14   bridge “have been produced.” Id. at 2. But five days after filing the Motion, NSO (which apparently

15   possesses Westbridge’s emails) produced 43 documents, including emails among NSO and West-

16   bridge employees that were not previously produced and are damaging to NSO’s defenses. See Decl.

17   of Micah G. Block in Supp. of Pls.’ Opp. to Mot. for Clarification (“Block Decl.”) ¶¶ 6–7. The

18   Motion should therefore be denied, and the joint discovery letter addressing Westbridge’s discovery

19   deficiencies should be resolved on the merits.

20                                     POINTS AND AUTHORITIES

21           The Federal Rules of Civil Procedure permit a court to “correct a clerical mistake or a mistake

22   arising from oversight or omission whenever one is found in a judgment, order, or other part of the

23   record.” Fed. R. Civ. P. 60(a). “[T]he clarification process presumes some legitimate need support-

24   ing relief, such as the existence of ambiguity or confusion that can be corrected with further expla-

25   nation.” Padgett v. Loventhal, 2015 WL 13753300, at *1 (N.D. Cal. May 13, 2015). No such need

26   exists here.

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 1          First, clarification is unnecessary because the Court’s Order was clear when it extended the

 2   deadline for “both parties to file discovery-related motions under Civil Local Rule 37-3.” Dkt. No.

 3   394 at 2. The relevant portion of Civil Local Rule 37-3 states that “no motions related to fact dis-

 4   covery may be filed more than 7 days after the fact discovery cut-off.” Civil L.R. 37-3. Nothing in

 5   the Civil Local Rule or the Court’s Order excludes discovery-related motions against nonparties. The

 6   Order encompasses disputes related to nonparties; it does not carve out nonparties. And it therefore

 7   does not need to be clarified. See Lee v. City of San Jose, 2024 WL 3748360, at *2 (N.D. Cal. Aug.

 8   9, 2024) (applying deadline in Civil Local Rule 37-3 to plaintiff’s motion seeking deposition testi-

 9   mony from nonparty).

10          The NSO Affiliates argue that the Court extended the deadline only for the parties to “file

11   discovery motions against each other, not against third parties.” Dkt. No. 404 at 1. In support of this

12   argument, the NSO Affiliates rely on the portion of the Court’s Order finding “good cause” to extend

13   the deadline because an extension would “allow the parties to fully evaluate the opposing party’s

14   productions.” Dkt. No. 394 at 1. But the Court gave other reasons in support of extending the dead-

15   line—for instance, an extension would also allow the parties to “meet and confer to narrow disputes

16   wherever possible.” Id. Moreover, the Court did not purport to identify all of the reasons why there

17   was good cause for an extension in its two-page order.

18          In addition, Plaintiffs’ motion to enlarge time and NSO’s opposition to that motion both en-

19   compassed the discovery dispute with Westbridge. For instance, Plaintiffs’ motion to enlarge time

20   noted that “[a]fter the close of fact discovery, on September 15, 2024, Defendants’ counsel also pro-

21   duced documents on behalf of Westbridge,” and that discovery-related motions may be necessary

22   “[i]n light of these productions.” Dkt. No. 388 at 2. In response, NSO’s opposition extensively

23   described the discovery dispute related to Westbridge. Dkt. No. 391 at 3–4. This history belies the

24   NSO Affiliates’ argument that Plaintiffs’ motion to enlarge time sought relief only for party-related

25   disputes. See Dkt. No. 404 at 1.

26          Second, to the extent the motion for “clarification” seeks reconsideration, it does so improp-

27   erly, and that relief is unwarranted. Parties seeking reconsideration of a scheduling order must not

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 1   only obtain leave of Court, but must also identify (1) “a material difference in fact or law that in

 2   exercising reasonable diligence, the party did not know of at the time of the order,” (2) “the emer-

 3   gence of new material facts or change of law after the time of the order”; or (3) the Court’s “manifest

 4   failure” to consider material facts or dispositive legal arguments presented to the Court. See Civil

 5   L.R. 7-9. No such circumstance applies here. In fact, the Order’s rationale applies with equal force

 6   to a discovery-related motion against Westbridge as it does to a discovery-related motion against

 7   NSO.                                                 It is central to this litigation, and it has resisted dis-

 8   covery. See Dkt. No. 409 at 1–4. Just as the Order contemplated, Plaintiffs used the additional time

 9   it provided to confer with Westbridge and narrow the dispute before presenting it to the Court. See

10   Block. Decl. ¶¶ 4–5.

11           Third, the NSO Affiliates’ pleas of burden do not justify changing the Order, and in any event

12   are overstated. See Dkt. No. 404 at 2. To start, the burden argument is irrelevant to whether the

13   Order requires clarification or reconsideration (which it does not, see supra). Even if it were relevant,

14   however, the NSO Affiliates’ purported burden could not justify the protections they seek. To start,

15   Plaintiffs are only seeking additional document discovery from Westbridge, not from Mr. DiVittorio

16   and Mr. Shaner.

17   Block Decl. ¶ 2, so no additional burden would fall on the NSO Affiliates to identify relevant docu-

18   ments. Moreover,

19                              . See Block Decl., Ex. B (Shaner Dep. Tr.) at 332:18–20; id., Ex. C (DiVit-

20   torio Dep. Tr.) at 20:19–21:13.

21

22                                                                                                         , which

23   further shows the absence of meaningful burden on a nonparty. See Dkt. No. 418-5, Ex. 9 (Shohat

24   Dep. Tr.) at 95:8–96:3.1 To the extent the Court considers the NSO Affiliates’ burden argument at

25   all, any burden must be compared to the importance of the discovery sought. Here, the discovery is

26

27   1
          Indeed, the record establishes that Westbridge was an alter ego of NSO, as Plaintiffs have shown
          in their opposition to NSO’s motion for summary judgment. See Dkt. No. 418-3 at 15–16.
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     PLAINTIFFS’ OPPOSITION TO MOTION FOR CLARIFICATION
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 1   important to central issues in the case, including personal jurisdiction, which NSO is trying to chal-

 2   lenge on summary judgment. See Dkt. No. 396-2 at 8–18. Hence the importance of the discovery

 3   outweighs any purported burden on the NSO Affiliates.

 4             Finally, the Court should not credit the NSO Affiliates’ assertion that “the discovery motion

 5   Plaintiffs seek to file against Westbridge would be futile” because of Westbridge’s earlier produc-

 6   tions. Dkt. No. 404 at 2. That is not only irrelevant to whether the Order requires clarification, but

 7   also demonstrably wrong. Westbridge admitted (during the meet-and-confer process that the Court’s

 8   Order enabled) that it possesses relevant documents that have not been produced, and those docu-

 9   ments are responsive to Plaintiffs’ subpoena. See Dkt. No. 409 at 2; Block Decl. ¶ 5. Thus, the NSO

10   Affiliates assertion that Westbridge had “produced all documents in its possession that it agreed to

11   provide in response to the subpoena” is false. Dkt. No. 404 at 2. Counsel for NSO and the NSO

12   Affiliates also incorrectly assert that “Defendants and Westbridge communicated with each other via

13   email very infrequently, but when they did, those emails have been produced, and Plaintiffs used

14   some of them at the depositions of the Third Parties.” Id. (emphasis added). Just five days after

15   making this assertion, NSO produced 43 documents, including emails among NSO and West-

16   bridge employees that had not been previously produced. Block Decl. ¶ 6. For instance, NSO

17   produced 21 emails between NSO and Mr. DiVittorio, and 19 emails between NSO and Mr. Shaner.

18   Id.

19                 , providing additional evidence of the connection between NSO and Westbridge. In ad-

20   dition,

21                                                                                             . See Block

22   Decl., Ex. A. None of these documents were previously produced. Block Decl. ¶¶ 6–7. Neither

23   NSO nor Westbridge has explained the provenance of these documents, how they were selected for

24   production, how their production can be reconciled with the NSO Affiliates’ assertions that they had

25   already produced all emails between NSO and Westbridge, or why they were not produced before

26   fact discovery ended, and indeed before Mr. DiVittorio’s and Mr. Shaner’s depositions.

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 1                                              CONCLUSION

 2          For the reasons stated above, the Court should deny the NSO Affiliates’ motion for clarifica-

 3   tion, and rule that the joint letter on the deficiencies within Westbridge’s document production was

 4   timely filed.

 5

 6

 7

 8    Dated: October 16, 2024                       Respectfully Submitted,

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     PLAINTIFFS’ OPPOSITION TO MOTION FOR CLARIFICATION
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